Case: 1:18-cv-05369 Document #: 21 Filed: 09/14/18 Page 1 of 2 Page|D #:515
United States District Court Northern District of Illinois
MOTION FOR LEAVE TO APPEAR PRO HAC VICE

 

 

 

 

 

Case Title: _ _ Plantiff(s)
Ubiquiti Networks, lnc.,
VS.
Cambium Networks, Inc. et al., Defendant(S)
CaS€ Numb€r! 1218-CV-05369 Judg€? Gary Feinerman
l. Andrew D' Wilson hereby apply to the Court

 

under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf of

Cambium Networks, Inc.; Cambium Networl<s, Ltd.; Blip Networl<s, LLC;

Winncom Technologies, lnc.; Sal<id Ahmed; and Dmitry Moiseev. by WhOm l have been retained.

I am a member in good standing and eligible to practice before the following courts:

 

Title of Court Date Admitted

 

District of Columbia Court of Appeals January 8, 2016

 

 

 

 

 

 

l have currently, or within the year preceding the date of this application, made pro hac vice applications to this
Court in the following actions: a

 

Date of Application

Case Nurnber Case Title (Granted or Denied)*

 

None

 

 

 

 

 

 

 

*lf denied, please eXplain:
(Attach additional form if
necessary)

Pursuant to Local Rule 83.15(a), applicants who do not have an office within the Northern District of lllinois must designate, at the
time of filing their initial notice or pleading, a member of the bar ofthis Court having an office within this District upon who service of

papersimay be made.

 

 

 

 

 

 

Has the applicant designated local counsel? Yes y No

 

 

Ifyou have not designated local counsel, Loca| Rule 83.15(b) provides that the designation must be made within thirty (30) days.

 

 

Case' 1:18-cv-05369 Document #: 21 Filed: 09/14/18 Page 2 of 2 Page|D #:516

Has the applicant ever been:

 

 

censured, suspended, dlsbarred, or otherwise disciplined by any court? Yes No y

 

 

 

 

or is the applicant currently the subject of an investigation of the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

applicant’s professional conduct? Yes No d
transferred to inactive status, voluntarily Withdrawn, or resigned from the

bar of any court? Yes No “
denied admission to the bar of any court? Yes No \/
held in contempt of court? Yes No \/

 

 

NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applicant’s current
status before any court, or any agency thereof, where disciplinary sanctions were imposed, or where an investigation or investigations
of the applicant’s conduct may have been instituted

I have read the Rules of Professional Conduct for the Northern District of Illinois and the Standards for Professional Conduct within
the Seventh Federal Judicial Circuit, and Will faithfully adhere to them. l declare under penalty of perjury that the foregoing is true and
correct.

Z/li/ig S/

Date Electronic Signature of Applicant

 

Last Name First Name Middle Name/Initial

A l` t’ N .
pp man S ame Wilson Andrew D.

 

 

APPliCam’S LHW Firm Baker Botts, L.L.P.

 

 

Street Address Room/Suite Nurnber

Applicant’$ Address The Warner, 1299 Pennsylvania Avenue, N.W.

 

 

City State ZIP Code Work Phone Nurnber
Washington DC 20004 202-639-1312

 

 

 

 

 

(The pro hac vice admission fee is $150.00 and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such
time as the fee has been paid.)

NOTE: Attorneys seeking to appear pro hac vice may Wish to consider filing a petition for admission to the general bar of this Court. The
fee for admission to the General Bar is $181.00 The fee for pro hac vice admission is $150.00, Admission to the general bar
permits an attorney to practice before this Court. Pro hac vice admission entitles an attorney to appear in a particular case
only. Application for such admission must be made in each case; and the admission fee must be paid in each case.

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